                                    United States District Court
                                   Southern District of New York


Virginia L. Giuffre,

                 Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

      PLAINTIFF’S MOTION TO ENFORCE THE COURT’S ORDER AND DIRECT
      DEFENDANT TO ANSWER DEPOSITION QUESTIONS FILED UNDER SEAL1

          Plaintiff Virginia Giuffre, by and through her undersigned counsel, hereby files this

Motion to Compel Defendant to Answer Deposition Questions. On June 20, 2016, this Court

Ordered Defendant to sit for a second deposition because her refusal to answer questions posed

in her first Deposition (June 20, 2016 Sealed Order, filed in redacted version at D.E. 264-1). Yet,

during her second deposition, Defendant again refused to answer numerous questions regarding

sexual activity related to Jeffrey Epstein in contravention of this Court’s Order. Accordingly, the

Court should direct her to fully answer the relevant questions.

                                    FACTUAL BACKGROUND

          As the Court is aware, this defamation case involves Ms. Giuffre’s assertions that she and

other females were recruited by Defendant to be sexually abused by Jeffrey Epstein under the

guise of being “massage therapists.” See Complaint, DE1, at ¶ 27 (Giuffre “described Maxwell’s

role as one of the main women who Epstein used to procure under-aged girls for sexual activities



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    Defendant has labelled her entire deposition transcript as Confidential at this time.
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and a primary co-conspirator and participant in his sexual abuse and sex trafficking scheme”).

Numerous other witnesses, with knowledge of Defendant’s activities, have testified to the same:

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      See Schultz Decl. at Composite Exhibit 3, Excerpts of June 21, 2016, Deposition of
       Detective Recarey at pg. 29:11-20. “Q. “Okay. During your investigation, what did you
       learn in terms of Ghislaine Maxwell's involvement, if any? THE WITNESS: Ms.
       Maxwell, during her research, was found to be Epstein's long-time friend. During the
       interviews, Ms. Maxwell was involved in seeking girls to perform massages and work at
       Epstein's home.”




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      See Schultz Decl. at Composite Exhibit 5, Excerpts from June 1, 2016, Deposition of
       John Alessi at pg. 28:6-15. “Q. And over the course of that 10-year period of time while
       Ms. Maxwell was at the house, do you have an approximation as to the number of
       different females -- females that you were told were massage therapists that came to the
       house? THE WITNESS: I cannot give you a number, but I would say probably over 100
       in my stay there." Id. at pg. 30:15-25 “Q: Did you go out looking for the girls -- A. No.
       Q. -- to bring -- A. Never. Q. -- as the massage therapists? A. Never. Q. Who did?
       A. Ms. Maxwell, Mr. Epstein and their friends, because their friends relayed to other
       friends they knew a massage therapist and they would send to the house. So it was
       referrals.”

   In response to Ms. Giuffre’s assertions about Defendant recruiting of females for sexual

purposes, Defendant has made the sweeping claim that Ms. Giuffre’s assertions are “entirely

false” and “entirely untrue.” Complaint, DE 1, at ¶ 31. Accordingly, this Court directed as

follows:




                                                                                    .

See Schultz Decl. at Exhibit 6,                                      (Emphasis added).

       Despite this instruction from the Court, during her deposition, Defendant refused to

answer many questions related to “sexual activity with or involving Jeffrey Epstein, with or

involving Plaintiff . . . or involving or including massage with individuals Defendant knew to be

or believed were known to might become known to Epstein.” The result was that at a number of



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points throughout her deposition, Defendant refused to answer questions about subjects integral

to this lawsuit, including questions about a student,              , who Defendant recruited

from her school to give massages to, and have sex with, Jeffrey Epstein under the guise of hiring

her to answer phones.

       For example, Defendant refused to answer questions about recruiting                   for sex

with Epstein:

                Q. So is it fair to say that


       MR. PAGLIUCA: This has already been testified to Mr. Boies. We are repeating
       testimony now.
       MR. BOIES: I think in the context of the witness’ answers, these are fair
       questions. Now, I’ve asked you before, if you want to instruct her not to answer,
       if you want to go to the judge, we are happy to do that, but I would suggest in the
       interest of moving it along, that you stop these speeches.
       MR. PAGLIUCA: You are not moving it along is the problem, so maybe we
       should call the court and get some direction here, because I am not going to sit
       here and rehash the testimony we already gave.
       MR. BOIES: That’s fin[e]. [At this point a telephone call was placed to Judge
       Sweet’s chambers].
See Schultz Decl. at Composite Exhibit 7, Excerpts from July 22, 2016, Deposition of Ghislaine

Maxwell at pg.78:17-79:14.

       MR. BOIES: So how did it happen, Ms. Maxwell, that
                      , ended up giving massages to you and Mr. Epstein.

       MR. PAGLIUCA: I’m going to instruct you not to answer the question. This has been
       previously , the subject of your former deposition, it doesn’t fall into any of the
       categories ordered by the court, and so you don’t need to answer that.

Id. at pg.81:15-25.

       Defendant’s counsel’s instruction not to answer was improper. This Court’s Order stated:




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       In the wake of this specific deposition testimony from                , during her own

recent deposition, Defendant continued to refuse to testify about                  massages and

sexual activity with Epstein:

       Q. Did Mr. Epstein pay            for the massages that she gave Mr. Epstein?

       Mr. Pagliuca: You just asked this question, and I told her not to answer. I will tell her not
       to answer again for the same reasons.

       Q. Do you know how much Mr. Epstein paid                 to give massages?

       Mr. Pagliuca: Same instruction to the witness. Why do you believe this is within the
       scope of the court’s order?

       Mr. Boies: Because of the court’s reference to massages, and because I think how much a
       girl                                    was paid to give a “massage” goes to whether
       there actually was or was not sexual activity involved.

       Mr. Pagiluca: The witness has testified there wasn’t.

       Mr. Boies: Perhaps it will surprise you, I think it should not, that I do not believe in my
       deposition I need to simply accept her characterization without cross-examination. Now
       that’s something the judge can decide, but a question as to how much this young girl was
       being paid for a “massage,” I think goes directly to the issue of sexual activity.

See Schultz Decl. at Composite Exhibit 7, Excerpts from July 22, 2016 Deposition of Ghislaine

Maxwell at pg. 82:25-84:6.

       Additionally, Defendant refused to answer questions concerning the sexual abuse

involving herself, Mr. Epstein, and                            , described in a Vanity Fair article:

       “What do you have on the girls?” [Epstein] would ask the question over and over again.
       What I had “on the girls” were some remarkably brave first-person accounts. Three on-
       the-record stories from a family: a mother and her daughters [Maria Farmer, Annie
       Farmer, and their mother] who came from Phoenix. The oldest daughter, an artist whose
       character was vouchsafed to me by several sources, including the artist Eric Fischl, had
       told me, weeping as she sat in my living room, of how Epstein had attempted to seduce
       both her and, separately, her younger sister, then only 16. He’d gotten to them because of
       his money. He promised the older sister patronage of her art work; he’d promised the
       younger funding for a trip abroad that would give her the work experience she needed on
       her resume for a place at an Ivy League university, which she desperately wanted - and
       would win. The girls’ mother told me by phone that she had thought her daughters would


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       be safe under Epstein’s roof, not least because he phoned her to reassure her, and she
       also knew he had Ghislaine Maxwell with him at all times. When the girls’ mother
       learned that Epstein had, regardless, allegedly molested her 16-year-old daughter, she’d
       wanted to fight back.

“I Tried to Warn You about Sleazy Billionaire Jeffrey Epstein in 2003,” Vicky Ward, January 6,

2015, Daily Beast Article (Emphasis added). Defendant would not answer many questions

concerning her role with in the molestation of these girls while she was sharing a house with

              and Jeffrey Epstein:

       Q. Do you know whether or not


       Mr. PAGLIUCA: Can you tell me how that relates to this order, counselor?

       MR. BOIES: Yes, I think it goes directly to the sexual activity related to
       and what Mr. Epstein was doing with                 . Again, you can instruct not to
       answer.

       MR. PAGLIUCA: I’m trying to understand why you are asking these questions before I -

       MR. BOIES: I’m asking these questions because these are people who not only have
       been publicly written about in terms of the sexual activity that they were put into in
       connection with Mr. Epstein, but the person who wrote about them is someone who
       talked to the witness about it, and I think that this is more than easily understood cross-
       examination.

       MR. PAGLIUCA: Your question was, do you know whether or not


       MR. BOIES: Yes. And if you let her answer, you will see where it leads. If you won’t let
       her answer, the judge is going to determine it. And I just suggest to you that you stop
       these speeches and stop debating, because you are not going to convince me not to
       follow-up on these questions. If you can convince the court to truncate the deposition,
       that’s your right, but all you’re doing is dragging this deposition out.

       MR. PAGLIUCA: You have the opportunity to give me a good faith basis why you are
       asking these questions.

       MR. BOIES: I have given you a good faith basis.

       MR. PAGLIUCA: You haven’t.



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        MR. BOIES: Then instruct not to answer.

        MR. PAGLIUCA: I am giving you the opportunity to say why you are asking the
        questions, and why I’m telling her not to answer and I am entitled to know that.

        MR. BOIES: You are not entitled to know why I’m asking the question. You are only
        entitled to know that it relates to the subject matter that I am entitled to inquire about, and
        I don’t think the judge is going to think that, you know, where Mr. Epstein shipped
                 off to is outside the scope of what I’m entitled to inquire about.

See Schultz Decl. at Composite Exhibit 7, Excerpts from July 22, 2016 Deposition of Ghislaine

Maxwell at pg. 99:6-101:20.

        Defendant’s counsel also stopped a line of questioning in which Defendant was asked if

she recalled several girls                 brought over to give a “massage” to Epstein. The Court

will recall that



Accordingly, at Defendant’s recent deposition, Ms. Giuffre’s counsel attempted to follow up on

this subject:

        Q. Have you ever heard the name of                                               ?

        A. I don't recollect that name at all.




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       MR. PAGLIUCA: Mr. Boies, those names are on Exhibit 26, which we have already
       gone over and she said she didn't recognize those people, so now we are just repeating
       things that we went over.

       MR. BOIES: I am in the context of seeing if I can refresh her recollection, because these
       are women that                , who she also does not recall, brought over to Mr. Epstein's
       residences, and I also want to make a very clear record of what her testimony is and is not
       right now.

       Again, you can instruct her not to answer if you wish.

       MR. PAGLIUCA: I'm trying to get to nonrepetitive questions here. You basically asked
       the same question three times. Then we get a pile of notes that get pushed up to you, you
       read those. Then you ask those three times, and then we go to another question. So it's
       taking an inordinately long amount of time and it shouldn't.

       MR. BOIES: I think that is a demonstrably inaccurate statement of what has been going
       on, and I attribute -- maybe I shouldn't attribute it at all. But if you want to instruct not to
       answer, instruct not to answer. If you don't, again, all I will do is request that you cease
       your comments. I can't do that. All I can do is seek sanctions afterwards.

See Schultz Decl. at Composite Exhibit 7, Excerpts from July 22, 2016, Deposition of Ghislaine

Maxwell at pg. 154:20-156:10.

       Based on Defendant’s refusal to answer questions related to specific girls, Mr. Boies was

forced to discontinue asking questions about these victims.

       Defendant also refused to answer questions concerning the “sexual activities of others . . .

involving or including massage with individuals Defendant knew to be or believed might

become known to Epstein,” when she refused to answer a question about the records she kept of

the young girls who would perform massage and sexual activities with Epstein:

       Q. Was there a list that was kept of women or girls who provided massages?

       MR. PAGLIUCA: This has been previously deposed on. This is not part of the court's
       order, I will tell her not to answer.

       MR. BOIES: You are going to tell her not to answer a question that says was there a list
       of women or girls who provided massages?

       MR. PAGLIUCA: She has been previously deposed on this subject.


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         MR. BOIES: I think this is squarely in the court's order, but if you instruct her not to
         answer, you instruct her not to answer.

         MR. PAGLIUCA: We'll find out.

Id. at pg. 184:14-185:6.

         Q. “In 2005, were you aware of any effort to destroy records of messages you had taken
         of women who had called Mr. Epstein in the prior period?

         MR. PAGLIUCA: Don’t answer that question. It’s outside the court’s order.

Id. at pg. 177:5-11.

         Ample evidence in this case establishes that not only did Defendant recruit underage girls

for massage and sexual activities with Epstein, but that she participated in calling the girls;

getting other people to bring girls; talking to the girls; taking massages from and leaving

messages about the girls; and scheduling the girls to come over. Accordingly, questions

concerning written records documenting Defendant’s involvement in, and knowledge of, the

girls who “massaged” Epstein is clearly within the ambit of this Court’s Order. For example, a

message from July of 2004 records Defendant, “Ms. Maxwell,” giving a message to Mr. Epstein

as message from            ” (an underage girl who was 14 years old on the date of the message)

that “           is available on Tuesday no one for tomorrow.” See GIUFFRE001465.




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See Schultz Decl. at Composite Exhibit 8, Messages Involving Defendant3. In the investigation

of Mr. Epstein’s sex crimes against minors, law enforcement was able to confirm identities of

underage victims through the use of the names recorded these messages, which were recovered

from Epstein’s trash.4 Accordingly, the messages, and the girls described therein, are fully within

the ambit of this Court’s Order.



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 GIUFFRE001523; GIUFFRE001427; GIUFFRE001451; GIUFFRE001454; GIUFFRE001460;
GIUFFRE001461; GIUFFRE001464; GIUFFRE001465; GIUFFRE001436; GIUFFRE001435;
GIUFFRE001472; GIUFFRE001474; GIUFFRE001492; GIUFFRE001553; GIUFFRE001388;
GIUFFRE001555; GIUFFRE001556; GIUFFRE001557; GIUFFRE001392; GIUFFRE001526;
GIUFFRE001530; GIUFFRE001568; GIUFFRE001536; GIUFFRE001538; GIUFFRE001541;
GIUFFRE001546; GIUFFRE001399; GIUFFRE001402; GIUFFRE001405; GIUFFRE001406;
GIUFFRE001449; GIUFFRE001409; GIUFFRE001410; GIUFFRE001411; GIUFFRE00; etc.
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  Palm Beach Police Officer Recarey was deposed about information pulled by police officers
from trash discarded by Epstein from his home:

       Q. The next line down is what I wanted to focus on, April 5th, 2005. This trash
       pull, what evidence is yielded from this particular trash pull?

       THE WITNESS: The trash pull indicated that there were several messages with
       written items on it. There was a message from HR indicating that there would be
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       Finally, Defendant also refused to answer foundational questions that are necessary to

precede questions authorized by this Court, such as:

      “In terms of preparing for this deposition, what documents did you review?” See Schultz
       Decl. at Composite Exhibit 7, Excerpts from July 22, 2016, Deposition of Ghislaine
       Maxwell at 174:2-4.

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       an 11:00 appointment. There were other individuals that had called during that
       day.

       Q. And when you would -- when you would see females' names and telephone
       numbers, would you take those telephone numbers and match it to -- to a person?

       THE WITNESS: We would do our best to identify who that person was.

       Q. And is that one way in which you discovered the identities of some of the other
       what soon came to be known as victims?

       THE WITNESS: Correct.

See Schultz Decl. at Composite Exhibit 3, Excerpts of June 21, 2016 Deposition of Detective
Recarey at pg. 42:14-43:17. Recarey went on to describe the importance of the information:

       Q. Did you find names of other witnesses and people that you knew to have been
       associated with the house in those message pads?

       THE WITNESS: Yes.

       Q. And so what was the evidentiary value to you of the message pads collected
       from Jeffrey Epstein's home in the search warrant?

       THE WITNESS: It was very important to corroborate what the victims had
       already told me as to calling in and for work.

Id. at 78:25 -79:15.
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   In sum, Defendant refused to answer important questions relating to the following topics that

were authorized by this Court’s Order: (1) Defendant’s information relating to and knowledge of

the circumstances of                 g performing massages and sex acts upon Epstein; (2)

Defendant’s information relating to and knowledge of the circumstances relating to the abuse of

                             by Defendant and Epstein; (3) Defendant’s information relating to

and knowledge of any lists or records of girls who gave “massages” to Epstein; (4) Defendant’s

involvement with messages (or related documents) showing Defendant’s knowledge of, and

involvement in, the scheduling of underage girls for massage and sex with Epstein, and any

destruction of evidence related to these messages (or related records); (5) foundational questions

that were necessary precedent to asking questions authorized by this Court’s Order; and (6) all

related questions that arise out of any response Defendant provides within the parameters of the

Court’s June 20, 2016, Order.

                                            DISCUSSION

   The Court should compel Ms. Maxwell to answer questions in the topic areas where she

refused to answer during her recent deposition. Topics 1 - 4 above are central parts of this case,

and Topics 5 and 6 link directly to central parts of this case. Ms. Giuffre, and now other

knowledgeable witnesses, have explained and testified that Defendant not only had knowledge of

Epstein’s massages and sexual activity with others, but she actively facilitated the sexual

massages through recruiting young females and underage girls for the purpose of “massage” and

sexual activity. And proof that Defendant both had knowledge of, and was involved in, these

schemes and encounters, will further help prove that Defendant’s statements to the press that

Virginia’s allegations were “obvious lies” was itself an obvious lie.




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       The questions Defendant refused to answer fall squarely within this Court’s earlier order.

Defendant can have no legitimate basis for obstructing the search for truth by refusing to answer.

The Court should, again, compel Defendant to answer all these questions. See Fed. R. Crim. P.

37(a)(3)(B)(i); see, e.g., Kelly v. A1 Tech., No. 09 CIV. 962 LAK MHD, 2010 WL 1541585, at

*20 (S.D.N.Y. Apr. 12, 2010) (“Under the Federal Rules, when a party refuses to answer a

question during a deposition, the questioning party may subsequently move to compel disclosure

of the testimony that it sought. The court must determine the propriety of the deponent's

objection to answering the questions, and can order the deponent to provide improperly withheld

answers during a continued deposition” (internal citations omitted)). Of course, the party

objecting to discovery must carry the burden of proving the validity of its objections, particularly

in light of “the broad and liberal construction afforded the federal discovery rules . . . .” John

Wiley & Sons, Inc. v. Book Dog Books, LLC, 298 F.R.D. 184, 186 (S.D.N.Y. 2014). For

purposes of a deposition, the information sought “need not be admissible at the trial if the

discovery appears reasonably calculated to lead to the discovery of admissible evidence.” Chen-

Oster v. Goldman, Sachs & Co., 293 F.R.D. 557, 561 (S.D.N.Y. 2013) (citing Fed.R.Civ.P.

26(b)(1)).

       Defendant cannot claim that such questions were outside the scope of this Court’s order,

as they directly relate to (1) her knowledge of individuals who provided “massage” to Epstein

and (2) her knowledge of sexual activities of others with or involving Epstein. Defendant’s

knowledge of the individuals involved in the sex/”massages” relating to Epstein, and her

knowledge about the sex/”massage” related to Epstein is precisely what this Court directed her to

answer. See also, Condit v. Dunne, 225 F.R.D. 100, 113 (S.D.N.Y. 2004) (in defamation case,

“Plaintiff is hereby ordered to answer questions regarding his sexual relationships in so far as



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they are relevant to a defense of substantial truth, mitigation of damages, or impeachment of

plaintiff.”); Weber v. Multimedia Entm't, Inc., No. 97 CIV. 0682 PKL THK, 1997 WL 729039, at

*3 (S.D.N.Y. Nov. 24, 1997) (“While discovery is not unlimited and may not unnecessarily

intrude into private matters, in the instant case inquiry into private matters is clearly relevant to

the subject matter of the suit. Accordingly, plaintiff Misty Weber shall respond to defendants'

interrogatories concerning her sexual partners . . . .”). Moreover, generally speaking, instructions

from attorneys to their clients not to answer questions at a deposition should be “limited to

[issues regarding] privilege.” Morales v. Zondo, Inc., 204 F.R.D. 50, 54 (S.D.N.Y. 2001). In this

case, defense counsel once again ranged far beyond the normal parameters of objections and

gave instructions directly in contravention of this Court’s Order directing Defendant to answer

exactly the type of questions posed to her.

        In light of Defendant’s willful refusal to comply with this Court’s Order directing

Defendant to answer questions related to the Court’s June 20, 2016, Order, including topics

enumerated above, Ms. Giuffre also seeks attorneys’ fees and costs associated with bringing this

motion, as well as fees and costs associated with re-taking Defendant’s deposition.



                                          CONCLUSION

       Defendant should be ordered to sit for a follow-up deposition and directed to answer

questions regarding the topics enumerated above.

Dated: July 29, 2016

                                               Respectfully Submitted,

                                               BOIES, SCHILLER & FLEXNER LLP

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representation.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 29th day of July, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

of Notices of Electronic Filing generated by CM/ECF.

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